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                      IN THE UNITED STATES DISTRICT COURT
            DISTRICT OF UTAH, SOUTHERN REGION OF CENTRAL DIVISION

 TRACY SINKUS​,

            Plaintiff,
                                                                 COMPLAINT
 v.
                                                              Case No. _________
SAND HOLLOW RESORT
OPERATIONS LLC​, a Utah Limited                             Judge _______________
Liability Company,

            Defendant.


       Plaintiff Tracy Sinkus, by and through undersigned counsel of record, hereby alleges and

complains against Defendant Sand Hollow Resort Operations LLC as follows:

                          PARTIES, JURISDICTION, AND VENUE

       1.       Plaintiff Tracy Sinkus (“Ms. Sinkus”) is an individual residing in Washington

County, Utah.

       2.       Defendant Sand Hollow Resort Operations LLC (“Sand Hollow”) is a Utah

limited liability company with a principal place of business in Washington County, Utah.
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       3.      Venue is appropriate under 28 U.S.C. § 1391(b) because Sand Hollow resides

within this district and/or because a substantial part of the events or omissions giving rise to the

claims occurred within this district.

       4.      Ms. Sinkus initially filed a charge of discrimination in this matter with the Utah

Labor Commission and the Equal Employment Opportunity Commission, the latter of which has

issued her a Notice of Right to Sue. The Notice of Right to Sue was issued on or about January

15, 2020 and timely filed this suit on April 14, 2020, which is within the 90 days requirement.

       5.      Jurisdiction in this Court is proper as the claims herein arise under Federal law,

including Title VII of the Civil Rights Act of 1964, as amended (“Title VII”), as well as

supplemental jurisdiction under 28 U.S.C. § 1367.

       6.      The Court has personal jurisdiction over these parties because the events upon

which this Complaint is based took place primarily within Washington County, Utah.

       7.      Upon information and belief, Sand Hollow employs at least 15 employees and is

therefore covered by Title VII.

                                  GENERAL ALLEGATIONS

       8.      Ms. Sinkus is a female and is a member of a protected class under Title VII.

       9.      Ms. Sinkus was employed by Sand Hollow from approximately April 2015 until

November 2018 as a server.

       10.     Throughout all times of her employment, Ms. Sinkus performed admirably all of

her assigned duties and otherwise complied with Sand Hollow’s employment policies and

procedures.


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        11.     In approximately June 2017, Sand Hollow hired Randy Mondragon (“Mr.

Mondragon”) to work as the cook, in which position he had a supervisory role over Ms. Sinkus.

        12.     Almost immediately, Mr. Mondragon began his campaign of harassment and

intimidation against Ms. Sinkus.

        13.     Mr. Mondragon sexually harassed and discriminated against Ms. Sinkus on

account of her female status on a nearly daily basis when their schedules coincided. She was

regularly subject to demeaning conduct, degrading comments, crude sexual innuendo, and other

actions by Mr. Mondragon because she is a woman.

        14.     For example, on one occasion, when Mr. Mondragon was demonstrating how to

clean the dishwashing machine, Mr. Mondragon said in a sexual manner while waving his hands

something to the effect of: “You have to dig your fingers down into the cracks and crevices

here; my fingers are made for cracks and crevices.”

        15.     In another incident, a fellow employee mentioned how barbeque sauce can get

hotter as it sits and ferments. Mr. Mondragon then simulated stroking himself and said, ‘I’ll tell

you what gets hotter as it sits.”

        16.     Another time, on a female coworker’s birthday, Mr. Mondragon said that he was

“thinking of getting her a blow up doll with somebody’s name on it.”

        17.     In yet another incident, while staring at her in a sexually inappropriate and

aggressive manner, Mr. Mondragon swung a machete back and forth across his body.

        18.     This is just a sample of the many sexually inappropriate and harassing actions that

Mr. Mondragon directed at Ms. Sinkus or perpetuated while she was in his presence.


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       19.     Throughout 2017 and 2018, Ms. Sinkus complained about this conduct to several

of her superiors, both verbally and in writing, including to Adam Jasperson (“Mr. Jasperson,” the

Director of Resort Operations), Brian Karr (“Mr. Karr,” the Food and Beverage Manager), and

Robert Roche (“Mr. Roche,” the Owner).

       20.     Unfortunately, Sand Hollow did nothing to stop the harassment, and the sexual

harassment and discrmination continued unabated. This was the case even though Ms. Sinkus

reported her complaints to the proper managers (first, her direct manager Mr. Karr, and then his

manager Mr. Jasperson, and then ultimately to the owner of the company, Mr. Roche) and both

verbally and in writing.

       21.     Throughout Mr. Mondragon’s harassing conduct, and in response to her

complaints, Ms. Sinkus was told she would have to meet her harasser “half way” if she wanted to

maintain her employment. On other occasions, she was told that “servers are replaceable” but

that Mr. Mondragon was not.

       22.     Ms. Sinkus was further ostracized and her complaints were given short shrift

because she did not share in the drug-using and flirtatious culture that existed at Sand Hollow.

       23.     Rather than correct Mr. Mondragon’s conduct, in or about October 2018, Sand

Hollow began a campaign to create a paper trail to justify terminating Ms. Sinkus. This included

a false written warning and placing her on probation.

       24.     This continued through the month of October 2018 and into November 2018,

when on or about November 3, 2018. Ms. Sinkus had a meeting with the new Food and Beverage

Manager, Dan Drown (“Mr. Drown”).


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        25.     Ms. Sinkus told Mr. Drown about her prior harassment complaints and indicated

to him that “they are not happy about that.” At that time she expressed concern that her

employment was about to be terminated because of her complaints.

        26.     Shortly thereafter, Mr. Drown assigned most if not all Ms. Sinkus’s work shifts to

another employee, in retaliation for her having provided him with this information.

        27.     Prior to Mr. Mondragon’s hiring, Ms. Sinkus had an excellent work record with

Sand Hollow. Indeed, just before she was given a written warning related to her employment

and placed on probation, Mr. Karr wrote her a letter of recommendation for her future job search.

        28.     By failing to stop Mr. Mondragon’s harassing conduct even after Ms. Sinkus’s

many complaints, Sand Hollow endorsed and perpetuated that activity, and is liable to her for it.

        29.     This incredibly offensive and hostile work environment offended Ms. Sinkus

deeply, and caused her intense emotional distress and damage.

        30.     This hostile work environment also made it difficult for Ms. Sinkus to perform

her duties up to her full ability.

        31.     Ms. Sinkus’ termination was causally connected to her complaints about unlawful

discrimination, as can be shown by the close proximity between her complaints and termination.

        32.     Ms. Sinkus has suffered substantial damages as a result of Sand Hollow’s illegal

conduct, to wit:

                a.      She has lost wages from being illegally terminated;

                b.      Lost opportunities for advancement, raises, and promotion while at the

company;


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               c.      Diminished future wages as a result of losing her job and not being able to

find subsequent commensurate compensation;

               d.      Front pay;

               e.      Severe emotional distress, and pain and suffering;

               f.      Attorney’s fees; and

               g.      Due to the egregious nature of Sand Hollow’s conduct, in which it acted

with malice and reckless indifference toward Ms. Sinkus, she is entitled to compensatory and

punitive damages.

                            FIRST CAUSE OF ACTION
                    UNLAWFUL DISCRIMINATION UNDER TITLE VII

       33.     Ms. Sinkus incorporates the preceding paragraphs as if stated verbatim herein.

       34.     Ms. Sinkus is a member of a protected class, namely because she is a woman.

       35.     Ms. Sinkus suffered an adverse employment action, including that she was

terminated from her employment.

       36.     Ms. Sinkus’s termination was under circumstances that giving rise to

discrimination.

       37.     Ms. Sinkus has suffered significant damages as a result of this unlawful

discrimination, in an amount to be proven at trial.

                           SECOND CAUSE OF ACTION
                     UNLAWFUL RETALIATION UNDER TITLE VII

       38.     Ms. Sinkus incorporates the preceding paragraphs as if stated verbatim herein.




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         39.   Ms. Sinkus, by complaining about the discriminatory comments and actions

directed at her, engaged in protected opposition to discrimination.

         40.   Ms. Sinkus suffered an adverse employment action by being terminated.

         41.   There is a causal connection between Ms. Sinkus’s protected opposition and the

adverse employment action, including the close temporal proximity between her protected

opposition and her termination.

         42.   Ms. Sinkus has suffered significant damages as a result of this unlawful

retaliation, in an amount to be proven at trial.

                           THIRD CAUSE OF ACTION
                  HOSTILE WORK ENVIRONMENT UNDER TITLE VII

         43.   Ms. Sinkus incorporates the preceding paragraphs as if stated verbatim herein.

         44.   Ms. Sinkus is a member of a protected class, namely because she is a woman.

         45.   Ms. Sinkus was subject to incredibly unwelcome harassment.

         46.   This harassment was directed at her on the basis of her membership in a protected

group.

         47.   Due to the harassment’s severity or pervasiveness, the harassment altered a term,

condition, or privilege of plaintiff’s employment and created an abusive working environment.

         48.   Ms. Sinkus subjectively perceived the environment to be harassing, and any

reasonable person would have also objectively perceived the conduct to be ​so severe and

pervasive that the workplace is objectively hostile or abusive.




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       49.     Ms. Sinkus has suffered significant damages as a result of this unlawful hostile

work environment, in an amount to be proven at trial.

       WHEREFORE, Ms. Sinkus prays for relief as follows:

       50.     On her first three causes of action, for back pay, front pay, reinstatement, special

damages, punitive damages, and compensatory damages, in an amount to be proven at trial.

       51.     On all causes of action, attorney fees, costs of suit, and any other relief the Court

deems equitable and warranted under the circumstances.

       52.     For damages in an amount to be proven at trial, but in no instance less than

$300,000.00.

                                        JURY DEMAND

       Ms. Sinkus demands a jury trial on all claims so triable.

       DATED this 14th day of April, 2020.

                                      NONPROFIT LEGAL SERVICES OF UTAH



                                        /s/ Aaron C. Garrett
                                      Aaron C. Garrett
                                      Mary Dewey
                                      Attorneys for Plaintiff Tracy Sinkus




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